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 7                         UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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11     FEDERAL TRADE COMMISSION,                    Case No. 2:18-cv-09573-JFW (JPRx)
12
                                Plaintiff,          STIPULATED ORDER FOR
13
                     v.                             PERMANENT INJUNCTION
14                                                  AND MONETARY JUDGMENT
15
       APEX CAPITAL GROUP, LLC, et al.,

16                               Defendants.
17
18         On November 13, 2018, Plaintiff, the Federal Trade Commission
19   (“Commission” or “FTC”), filed its Complaint for Permanent Injunction and Other
20   Equitable Relief in this matter, subsequently amended as First Amended Complaint
21   for Permanent Injunction and Other Equitable Relief, (as amended, “Complaint”),
22   pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC
23   Act”), 15 U.S.C. §§ 53(b) and 57b, the Restore Online Shoppers’ Confidence Act
24   (“ROSCA”), 15 U.S.C. § 8404, and Section 918(c) of the Electronic Fund Transfer
25   Act (“EFTA”), 15 U.S.C. § 1693o(c). The Commission and Defendant David
26   Barnett stipulate to the entry of this [Proposed] Stipulated Order for Permanent
27   Injunction and Monetary Judgment to resolve all matters in dispute in this action
28   between them.

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 1           THEREFORE, IT IS ORDERED as follows:
 2                                          FINDINGS
 3           1.    This Court has jurisdiction over this matter.
 4           2.    The Complaint charges that Settling Defendant participated in
 5   deceptive and unfair acts or practices in violation of Section 5 of the FTC Act, 15
 6   U.S.C. § 45, Section 4 of ROSCA, 15 U.S.C. § 8403, and Section 907(a) of EFTA,
 7   15 U.S.C. § 1693e(a) and Section 1005.10(b) of Regulation E, 12 C.F.R. §
 8   1005.10(b), in connection with the unfair and deceptive advertising, marketing,
 9   promotion, or sale of certain dietary supplements, skin creams, and other products
10   or services through a Negative Option Feature.
11           3.    Settling Defendant neither admits nor denies any of the allegations in
12   the Complaint, except as specifically stated in this Order. Only for purposes of this
13   action, Settling Defendant admits the facts necessary to establish jurisdiction.
14           4.    Settling Defendant waives any claim that he may have under the
15   Equal Access to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this
16   action through the date of this Order, and agrees to bear his own costs and attorney
17   fees.
18           5.    Settling Defendant and the Commission waive all rights to appeal or
19   otherwise challenge or contest the validity of this Order.
20                                      DEFINITIONS
21           For the purpose of this Order, the following definitions apply:
22           A.    “Acquirer” means a business organization, financial institution, or an
23   agent of a business organization or financial institution that has authority from an
24   organization that operates or licenses a credit card system (e.g. Visa, MasterCard,
25   American Express, and Discover) to authorize Merchants to accept, transmit, or
26   process payment by credit card through the credit card system for money, goods or
27   services, or anything else of value.
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 1         B.     “Add-On” means any additional good or service that is offered to the
 2   consumer for purchase immediately preceding, at the time of, or closely proximate
 3   in time after the consumer’s purchase of a different good or service, where the
 4   different good or service is or was advertised, marketed, promoted, or offered for
 5   sale by the Settling Defendant, whether directly or through an intermediary,
 6   including by consulting, planning, participating, facilitating, or advising.
 7         C.     “Affiliate” means any person, including any third-party marketer,
 8   who participates in an Affiliate Program.
 9         D.     “Affiliate Network” means any person who provides another person
10   with Affiliates for an Affiliate Program or with whom any person contracts as an
11   Affiliate to promote any good or service.
12         E.     “Affiliate Program” means any arrangement under which the Settling
13   Defendant pays, or offers to pay, or provides, or offers to provide, any form of
14   consideration to any third party, either directly or through an Affiliate Network
15   (i) to provide the Settling Defendant with, or refer to the Settling Defendant,
16   potential or actual customers; or (ii) otherwise to market, advertise, or offer for sale
17   any good or service on behalf of the Settling Defendant.
18         F.     “Asset” means any legal or equitable interest in, right to, or claim to,
19   any property, wherever located and by whomever held.
20         G.     “Billing Information” means any data that enables any person to
21   access a customer’s account, such as a credit card, checking, savings, share, or
22   similar account, utility bill, mortgage loan account, or debit card.
23         H.     “Chargeback” means a procedure whereby an issuing bank or other
24   financial institution charges all or part of an amount of a credit or debit transaction
25   back to the acquiring or merchant bank.
26         I.      “Clear and Conspicuous” or “Clearly and Conspicuously” means
27   that a required disclosure is difficult to miss (i.e., easily noticeable) and easily
28   understandable by ordinary consumers, including in all of the following ways:

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 1                1.     In any communication that is solely visual or solely audible, the
 2   disclosure must be made through the same means through which the
 3   communication is presented. In any communication made through both visual and
 4   audible means, such as a television advertisement, the disclosure must be presented
 5   simultaneously in both the visual and audible portions of the communication even
 6   if the representation requiring the disclosure is made in only one means;
 7                2.     A visual disclosure, by its size, contrast, location, the length of
 8   time it appears, and other characteristics, must stand out from any accompanying
 9   text or other visual elements so that it is easily noticed, read, and understood;
10                3.     An audible disclosure, including by telephone or streaming
11   video, must be delivered in a volume, speed, and cadence sufficient for ordinary
12   consumers to easily hear and understand it;
13                4.     In any communication using an interactive electronic medium,
14   such as the Internet or software, the disclosure must be unavoidable;
15                5.     On a product label, the disclosure must be presented on the
16   principal display panel;
17                6.     The disclosure must use diction and syntax understandable to
18   ordinary consumers and must appear in each language in which the representation
19   that requires the disclosure appears;
20                7.     The disclosure must comply with these requirements in each
21   medium through which it is received, including all electronic devices and
22   face-to-face communications;
23                8.     The disclosure must not be contradicted or mitigated by, or
24   inconsistent with, anything else in the communication; and
25                9.     When the representation or sales practice targets a specific
26   audience, such as children, the elderly, or the terminally ill, “ordinary consumers”
27   includes reasonable members of that group.
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 1         J.     “Close Proximity” means immediately adjacent to the triggering
 2   representation. In the case of advertisements disseminated verbally or through
 3   audible means, the disclosure shall be made as soon as practicable after the
 4   triggering representation.
 5         K.     “Commission” or “FTC” means the Federal Trade Commission.
 6         L.     “Corporate Defendants” means Apex Capital Group, LLC, Capstone
 7   Capital Solutions Limited, Clik Trix Limited, Empire Partners Limited, Interzoom
 8   Capital Limited, Lead Blast Limited, Mountain Venture Solutions Limited, Nutra
 9   Global Limited, Omni Group Limited, Rendezvous IT Limited, Sky Blue Media
10   Limited, and Tactic Solutions Limited, and each of their subsidiaries, affiliates,
11   successors, and assigns.
12
13         M.     “Cosmetic” means:
14                1.     articles to be rubbed, poured, sprinkled, or sprayed on,
15   introduced into, or otherwise applied to the human body or any part thereof
16   intended for cleansing, beautifying, promoting attractiveness, or altering the
17   appearance; and
18                2.     articles intended for use as a component of any such article,
19   except that such term shall not include soap.
20         N.     “Credit Card Laundering” means:
21                1.     Presenting or depositing into, or causing or allowing another to
22   present or deposit into, the credit card system for payment, a Credit Card Sales
23   Draft generated by a transaction that is not the result of a credit card transaction
24   between the cardholder and the Merchant;
25                2.     Employing, soliciting, or otherwise causing or allowing a
26   Merchant, or an employee, representative, or agent of a Merchant, to present to or
27   deposit into the credit card system for payment, a Credit Card Sales Draft
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 1   generated by a transaction that is not the result of a credit card transaction between
 2   the cardholder and the Merchant; or
 3                3.     Obtaining access to the credit card system through the use of a
 4   business relationship or an affiliation with a Merchant, when such access is not
 5   authorized by the Merchant Account agreement or the applicable credit card
 6   system.
 7         O.     “Credit Card Sales Draft” means any record or evidence of a credit
 8   card transaction.
 9         P.     “Defendants” means the Corporate Defendants and individual
10   defendants David Barnett and Phillip Peikos.
11         Q.     “Dietary Supplement” means:
12                1.     any product labeled as a dietary supplement or otherwise
13   represented as a dietary supplement; or
14                2.     any pill, tablet, capsule, powder, softgel, gelcap, liquid, or other
15   similar form containing one or more ingredients that are a vitamin, mineral, herb or
16   other botanical, amino acid, probiotic, or other dietary substance for use by humans
17   to supplement the diet by increasing the total dietary intake, or a concentrate,
18   metabolite, constituent, extract, or combination of any ingredient described above,
19   that is intended to be ingested, and is not represented to be used as a conventional
20   Food or as a sole item of a meal or the diet.
21         R.     “Drug” means:
22                1.     articles recognized in the official United States Pharmacopoeia,
23   official Homeopathic Pharmacopoeia of the United States, or official National
24   Formulary, or any supplement to any of them;
25                2.     articles intended for use in the diagnosis, cure, mitigation,
26   treatment, or prevention of disease in humans or other animals;
27                3.     articles (other than Food) intended to affect the structure or any
28   function of the body of humans or other animals; and

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 1                4.     articles intended for use as a component of any article specified
 2   in Subsection (1), (2), or (3); but does not include devices or their components,
 3   parts, or accessories.
 4         S.     “Food” means:
 5                1.     any article used for food or drink for humans or other animals;
 6                2.     chewing gum; and
 7                3.     any article used for components of any such article.
 8         T.     “Including” means including but not limited to.
 9         U.     “Merchant” means any natural person, entity, corporation,
10   partnership, or association of persons who is authorized under a written contract
11   with an Acquirer to honor or accept credit cards, or to transmit or process for
12   payment credit card payments, for the purchase of good or services.
13         V.     “Merchant Account” means an account with an Acquirer that
14   authorizes and allows a Merchant to honor or accept credit cards, or to transmit or
15   process for payment credit card payments, for the purchase of goods or services or
16   a charitable contribution.
17         W.     “Negative Option Feature” means, in an offer or agreement to sell or
18   provide any good or service, a provision under which the consumer’s silence or
19   failure to take affirmative action to reject a good or service, or to cancel the
20   agreement, is interpreted by the seller or provider as acceptance or continuing
21   acceptance of the offer.
22         X.     “Preauthorized Electronic Fund Transfer” means an electronic
23   fund transfer authorized in advance to recur at substantially regular intervals.
24         Y.     “Receiver” means Thomas McNamara, as set forth in Section XIV of
25   the Stipulated Preliminary Injunction with Asset Freeze, Receiver, and Other
26   Equitable Relief Against Defendant David Barnett (“Preliminary Injunction”), and
27   any deputy receivers that shall be named by the Receiver.
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 1          Z.     “Receivership Entities” means the Corporate Defendants, the
 2   Wyoming Related Companies, the UK Related Companies, Albright Solutions
 3   LLC, Apex Capital International Sarl, Asus Capital Solutions LLC, Brandooza
 4   LLC, DMB Marketing LLC, Element Media Group LLC, Jaci, LLC, Jaci Holding
 5   LLC, Jaci PR LLC, NextG Payments, LLC, NextLevel Solutions LLC, Omni
 6   Holding Company, LLC, and Vortex Media Group LLC.
 7          AA. “Receivership Estate” means all Assets managed, held, or
 8   maintained by the Receiver in connection with his role as Receiver in this
 9   litigation.
10          BB. “Settling Defendant” means the Defendant David Barnett.
11          CC. “Telemarketing” means any plan, program, or campaign which is
12   conducted to induce the purchase of goods or services by use of one or more
13   telephones, and which involves a telephone call, whether or not covered by the
14   Telemarketing Sales Rule, 16 C.F.R. Part 310.
15          DD. “UK Related Companies” means the companies identified in Exhibit
16   2 to this Order and each of their subsidiaries, affiliates, successors, and assigns
17          EE.    “Wyoming Related Companies” means the companies identified in
18   Exhibit 1 to this Order and each of their subsidiaries, affiliates, successors, and
19   assigns.
20                                          ORDER
21                                              I.
22                  BAN ON CERTAIN NEGATIVE OPTION SALES
23          IT IS ORDERED that Settling Defendant is permanently restrained and
24   enjoined from advertising, marketing, promoting, or offering for sale, whether
25   directly or through an intermediary, including by consulting, planning,
26   participating, facilitating, or advising, any good or service with a Negative Option
27   Feature in the following circumstances:
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 1         A.     Where the good or service is or relates to a Cosmetic, Food, Dietary
 2   Supplement, or Drug;
 3         B.     Where the good or service is or relates to an Add-On good or service;
 4   or
 5         C.     Where the good or service is advertised, marketed, promoted, or
 6   offered for sale as either “free,” “risk free,” a “trial,” a “sample,” a “bonus,” a
 7   “gift,” “no obligation,” or using any other words, depictions, or illustrations that
 8   denote or imply the absence of an obligation on the part of the recipient of the offer
 9   to affirmatively act in order to avoid charges.
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12                                              II.
13                        PROHIBITED BUSINESS ACTIVITIES
14         IT IS FURTHER ORDERED that Settling Defendant, Settling
15   Defendant’s officers, agents, and employees, and all other persons in active concert
16   or participation with him, who receive actual notice of this Order, whether acting
17   directly or indirectly, in connection with the advertising, marketing, promotion,
18   offering for sale, or sale of any good or service are permanently restrained and
19   enjoined from:
20         A.     Before a consumer consents to pay for such good or service, failing to
21   disclose, or assisting others in failing to disclose in a Clear and Conspicuous
22   manner all material terms and conditions of any offer, including:
23                1.     The total cost or price of the good or service;
24                2.     The amount, timing, and manner of all fees, charges, or other
25   amounts that a consumer will be charged or billed, including the date of the charge
26   and whether it will be a credit card or checking account charge; and
27                3.     The mechanism for consumers to stop a charge.
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 1         B.      Before a consumer consents to pay for such product, service, or
 2   program, failing to disclose, or assisting others in failing to disclose in a Clear and
 3   Conspicuous manner all material terms and conditions of any refund or
 4   cancellation policy, including:
 5                 1.    The specific steps and means by which such requests must be
 6   submitted;
 7                 2.    The customer service telephone number or numbers that a
 8   customer must call to cancel and/or return goods or services;
 9                 3.    The email address, web address, or street address to which such
10   requests must be directed;
11                 4.    Any mechanism that customers must use to return any products,
12   including any requirement for specific tracking methods or delivery confirmation
13   for a package;
14                 5.    If there is any policy of not making refunds or cancellations,
15   including any requirement that a product will not be accepted for return or refund
16   unless it is unopened and in re-sellable condition, a statement regarding this policy;
17   and
18                 6.    The date by which a customer is required to request a refund.
19         C.      Misrepresenting, or assisting others in misrepresenting, expressly or
20   by implication, any fact material to consumers concerning any good or service,
21   such as:
22                 1.    That the consumer will not be charged for any good or service;
23                 2.    That a good or service is free, risk free, a bonus, a gift, without
24   cost, or without obligation;
25                 3.    That the consumer can obtain a good or service for a
26   processing, service, shipping, handling, or administrative fee with no further
27   obligation;
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 1                   4.    The purpose(s) for which the consumer’s Billing Information
 2   will be used;
 3                   5.    The date by which the consumer will incur any obligation or be
 4   charged unless the consumer takes an affirmative action with respect to a Negative
 5   Option Feature that is not banned under the Section of this Order entitled “Ban on
 6   Certain Negative Option Sales”;
 7                   6.    The amount that a consumer’s credit or debit card will be
 8   charged and the timing of the charge(s);
 9                   7.    The total cost to purchase, receive, or use a good or service;
10                   8.    Any material restrictions, limitations or conditions to purchase,
11   receive, or use the good or service;
12                   9.    That a transaction has been authorized by a consumer;
13                   10.   That a purchase is offered with a satisfaction guarantee or with
14   a money-back guarantee;
15                   11.   Any material aspect of the nature or terms of a refund,
16   cancellation, exchange, or repurchase policy for the good or service;
17                   12.   Any material aspect of the performance, efficacy, nature, or
18   central characteristics of a good or service;
19                   13.   That any advertisement for a good or service sold by Settling
20   Defendant is an objective source of information, such as an unaffiliated news
21   report or magazine article; and
22                   14.   That an endorsement is by a bona fide user of the good or
23   service and reflects the honest opinions, findings, beliefs, or experience of the
24   endorser;
25         D.        Failing, in connection with the advertising, promotion, marketing,
26   offering for sale, sale, or provision of any good or service through an Affiliate
27   Program to:
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 1                1.      Require each Affiliate and/or Affiliate Network to provide to
 2   Settling Defendant the following identifying information:
 3                        a.    In the case of a natural person, the Affiliate’s or Affiliate
 4   Network’s first and last name, physical address, country, telephone number, email
 5   address, and complete bank account information as to where payments are to be
 6   made to that person;
 7                        b.    In the case of a business entity, the Affiliate’s or Affiliate
 8   Network’s name and any and all names under which it does business, state of
 9   incorporation, registered agent, and the first and last name, physical address,
10   country, telephone number, and email address for at least one natural person who
11   owns, manages, or controls the Affiliate or Affiliate Network, and the complete
12   bank account information as to where payments are to be made to the Affiliate or
13   Affiliate Network;
14                        c.    If Settling Defendant only has access to certain Affiliates
15   through an Affiliate Network, then Settling Defendant shall contractually require
16   each Affiliate Network to obtain and maintain from those Affiliates the identifying
17   information set forth in Subsections D.1.a and D.1.b of this Section prior to the
18   Affiliate’s or Affiliate Network’s participation in the Settling Defendant’s Affiliate
19   Program.
20                2.      As a condition of doing business with any Affiliate or Affiliate
21   Network or such Affiliate or Affiliate Network’s acceptance into Settling
22   Defendant’s Affiliate Program: (a) provide each such Affiliate or Affiliate
23   Network a copy of this Order; (b) obtain from each such Affiliate or Affiliate
24   Network a signed and dated statement acknowledging receipt of this Order and
25   expressly agreeing to comply with this Order; and (c) clearly and conspicuously
26   disclose in writing that engaging in acts or practices prohibited by this Order will
27   result in immediate termination of any Affiliate or Affiliate Network and forfeiture
28   of all monies owed to such Affiliate or Affiliate Network; provided, however, that

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 1   if Settling Defendant only has access to certain Affiliates through an Affiliate
 2   Network, then Settling Defendant shall contractually require that the Affiliate
 3   Network provide the information required by this Subsection to each of those
 4   Affiliates and retain proof of the same prior to any such Affiliate being used in
 5   Settling Defendant’s Affiliate Program; and if Settling Defendant should acquire
 6   any entity that has an existing program of selling through Affiliates, the entity must
 7   complete all steps in this Subsection prior to Settling Defendant’s acquisition of
 8   the entity.
 9                 3.   Require that each Affiliate or Affiliate Network, prior to the
10   public use or dissemination of any marketing materials, including websites, emails,
11   and pop-ups used by any Affiliate or Affiliate Network to advertise, promote,
12   market, offer for sale, or sell any products, services, or programs through Settling
13   Defendant’s Affiliate Program, provide Settling Defendant with the following
14   information: (a) copies of all materially different marketing materials to be used by
15   the Affiliate or Affiliate Network, including text, graphics, video, audio, and
16   photographs; (b) each location the Affiliate or Affiliate Network maintains, or
17   directly or indirectly controls, where the marketing materials will appear, including
18   the URL of any website; (c) for hyperlinks contained within the marketing
19   materials, each location to which a consumer will be transferred by clicking on the
20   hyperlink, including the URL of any website; and (d) the range of dates that the
21   marketing materials will be publicly used or disseminated to consumers; provided,
22   however, that if Settling Defendant only has access to certain Affiliates through an
23   Affiliate Network, then Settling Defendant shall contractually require that the
24   Affiliate Network obtain and maintain the same information set forth above from
25   each of those Affiliates who are part of Settling Defendant’s Affiliate Program
26   prior to the public use or dissemination of any such marketing materials, and
27   provide proof to Settling Defendant of having obtained the same.
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 1                4.     Promptly review the marketing materials specified in Section
 2   II.D.3 above as necessary to ensure compliance with this Order. Settling
 3   Defendant shall also promptly take steps as necessary to ensure that the marketing
 4   materials provided to Settling Defendant under Section II.D.3 above are the
 5   marketing materials publicly used or disseminated to consumers by the Affiliate or
 6   Affiliate Network. If Settling Defendant determines that the use of any marketing
 7   material does not comply with this Order, Settling Defendant shall inform the
 8   Affiliate or Affiliate Network in writing that approval is denied and shall not pay
 9   any amounts to the Affiliate or Affiliate Network for such marketing, including
10   any payments for leads, “click-throughs,” or sales resulting therefrom; provided,
11   however, that if Settling Defendant only has access to certain Affiliates through an
12   Affiliate Network, then Settling Defendant shall contractually require that the
13   Affiliate Network comply with the procedures set forth in this Subsection as to
14   those Affiliates.
15                5.     Promptly and completely investigate any complaints that
16   Settling Defendant receives through any source to determine whether any Affiliate
17   or Affiliate Network is engaging in acts or practices prohibited by this Order,
18   either directly or through any Affiliate that is part of Settling Defendant’s Affiliate
19   Program.
20                6.     Upon determining that any Affiliate or Affiliate Network has
21   engaged in, or is engaging in, acts or practices prohibited by this Order, either
22   directly or through any Affiliate that is part of Settling Defendant’s Affiliate
23   Program, immediately:
24                       a.     Disable any connection between the Settling Defendant’s
25   Affiliate Program and the marketing materials used by the Affiliate or Affiliate
26   Network to engage in such acts or practices prohibited by this Order;
27                       b.     Immediately halt the processing of any payments or
28   charges generated by the Affiliate or Affiliate Network;

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 1                       c.    Fully refund, or cause to be refunded, within five (5)
 2   business days, each consumer charged by Settling Defendant whose sale originated
 3   from the Affiliate or Affiliate Network on or after the date the Affiliate or Affiliate
 4   Network engaged in acts or practices prohibited by this Order; and
 5                       d.    Immediately terminate the Affiliate or Affiliate Network;
 6   provided, however, Settling Defendant shall not be in violation of this subsection if
 7   Settling Defendant fails to terminate an Affiliate Network in a case where Settling
 8   Defendant’s only access to an Affiliate who has engaged in acts or practices
 9   prohibited by this Order is through an Affiliate Network and Settling Defendant
10   receives notice that the Affiliate Network immediately terminated the Affiliate
11   violating this Order from any Affiliate Program maintained by the Settling
12   Defendant.
13                                             III.
14                     REQUIRED DISCLOSURES RELATING TO
15                            NEGATIVE OPTION FEATURES
16         IT IS FURTHER ORDERED that Settling Defendant, Settling
17   Defendant’s officers, agents, and employees, and all other persons in active concert
18   or participation with him, who receive actual notice of this Order, whether acting
19   directly or indirectly, in connection with promoting or offering for sale any good or
20   service with a Negative Option Feature, other than any good or service covered
21   under the Section of this Order entitled “Ban on Certain Negative Option Sales,”
22   are permanently restrained and enjoined from:
23         A.     Obtaining Billing Information from a consumer for any transaction
24   involving a good or service that includes a Negative Option Feature, without first
25   disclosing Clearly and Conspicuously, and in Close Proximity to where a
26   consumer provides Billing Information:
27                1.     The extent to which the consumer must take affirmative
28   action(s) to avoid any charges on a recurring basis;

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 1                2.     The total cost (or range of costs) the consumer will be charged,
 2   the date the initial charge will be submitted for payment, and the frequency of such
 3   charges unless the consumer timely takes affirmative steps to prevent or stop such
 4   charges;
 5                3.     The deadline(s) (by date or frequency) by which the consumer
 6   must affirmatively act in order to stop all recurring charges;
 7                4.     The name of the seller or provider of the good or service and, if
 8   the name of the seller or provider will not appear on billing statements, the billing
 9   descriptor that will appear on such statements;
10                5.     A description of the good or service;
11                6.     Any charge or cost for which the consumer is responsible in
12   connection with the cancellation of an order or the return of a product; and
13                7.     The simple cancellation mechanism to stop any recurring
14   Charges, as required by Section V of this Order.
15         B.     Failing to send the consumer:
16                1.     Immediately after the consumer’s submission of an online
17   order, written confirmation of the transaction by email. The email must Clearly
18   and Conspicuously disclose all the information required by Subsection III.A, and
19   contain a subject line reading “Order Confirmation” along with the name of the
20   good or service and no additional information; or
21                2.     Within two (2) days after receipt of the consumer’s order by
22   mail or telephone, a written confirmation of the transaction, either by email or first
23   class mail. The email or letter must Clearly and Conspicuously disclose all the
24   information required by Subsection III.A. The subject line of the email must
25   Clearly and Conspicuously state “Order Confirmation” along with the name of the
26   good or service and nothing else. The outside of the envelope must Clearly and
27   Conspicuously state “Order Confirmation” along with the name of the good or
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 1   service and no additional information other than the consumer’s address, the
 2   seller’s return address, and postage.
 3                                            IV.
 4                     OBTAINING EXPRESS INFORMED CONSENT
 5         IT IS FURTHER ORDERED that Settling Defendant, Settling
 6   Defendant’s officers, agents, and employees, and all other persons in active concert
 7   or participation with him, who receive actual notice of this Order, whether acting
 8   directly or indirectly, in connection with promoting or offering for sale any good or
 9   service with a Negative Option Feature, other than any good or service covered
10   under the Section of this Order entitled “Ban on Certain Negative Option Sales,”
11   are permanently restrained and enjoined from using, or assisting others in using,
12   Billing Information to obtain payment from a consumer, unless Settling Defendant
13   first obtains the express informed consent of the consumer to do so. To obtain
14   express informed consent, Settling Defendant must:
15         A.     For all written offers (including over the Internet or other web-based
16   applications or services), obtain consent through a check box, signature, or other
17   substantially similar method, which the consumer must affirmatively select or sign
18   to accept the Negative Option Feature, and no other portion of the offer. Settling
19   Defendant shall disclose Clearly and Conspicuously, and in Close Proximity to
20   such check box, signature, or substantially similar method of affirmative consent,
21   only the following, with no additional information:
22                1.     The extent to which the consumer must take affirmative
23   action(s) to avoid any charges on a recurring basis;
24                2.     The total cost (or range of costs) the consumer will be charged
25   and, if applicable, the frequency of such charges unless the consumer timely takes
26   affirmative steps to prevent or stop such charges; and
27                3.     The deadline(s) (by date or frequency) by which the consumer
28   must affirmatively act in order to stop all recurring charges.

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 1         B.     For all oral offers, prior to obtaining any Billing Information from the
 2   consumer:
 3                1.    Clearly and Conspicuously disclose the information contained
 4   in Subsection IV.A; and
 5                2.    Obtain affirmative unambiguous express oral confirmation that
 6   the consumer: (a) consents to being charged for any good or service, including
 7   providing, at a minimum, the last four (4) digits of the consumer’s account number
 8   to be charged, (b) understands that the transaction includes a Negative Option
 9   Feature, and (c) understands the specific affirmative steps the consumer must take
10   to prevent or stop further charges.
11         C.     For transactions conducted through Telemarketing, Settling Defendant
12   shall maintain for three (3) years from the date of each transaction an unedited
13   voice recording of the entire transaction, including the prescribed statements set
14   out in Subsection IV.B. Each recording must be retrievable by date and by the
15   consumer’s name, telephone number, or Billing Information, and must be provided
16   upon request to the consumer, the consumer’s bank, or any law enforcement entity.
17                                            V.
18                        SIMPLE MECHANISM TO CANCEL
19                           NEGATIVE OPTION FEATURE
20         IT IS FURTHER ORDERED that Settling Defendant, Settling
21   Defendant’s officers, agents, and employees, and all other persons in active
22   concert or participation with him, who receive actual notice of this Order, whether
23   acting directly or indirectly, in connection with promoting or offering for sale any
24   good or service with a Negative Option Feature, other than any good or service
25   covered under the Section of this Order entitled “Ban on Certain Negative Option
26   Sales,” are permanently restrained and enjoined from failing to provide a simple
27   mechanism for the consumer to immediately stop any recurring charges. Such
28   mechanism must not be difficult, costly, confusing, or time consuming, and must

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 1   be at least as simple as the mechanism the consumer used to initiate the charge(s).
 2   In addition:
 3         A.       For consumers who entered into the agreement to purchase a good or
 4   service including a Negative Option Feature over the Internet or through other
 5   web-based applications or services, Settling Defendant must provide a mechanism,
 6   accessible over the Internet or through such other web-based application or service
 7   that consumers can easily use to cancel the good or service and to immediately
 8   stop all further charges.
 9         B.       For consumers who entered into the agreement to purchase a good or
10   service including a Negative Option Feature through an oral offer and acceptance,
11   Settling Defendant must maintain a telephone number and a postal address that
12   consumers can easily use to cancel the good or service and to immediately stop all
13   further charges. Settling Defendant must assure that all calls to this telephone
14   number shall be answered during normal business hours and that mail to the postal
15   address is retrieved regularly.
16                                            VI.
17        PROHIBITIONS AGAINST VIOLATION OF THE ELECTRONIC
18                                FUND TRANSFER ACT
19        IT IS FURTHER ORDERED that Settling Defendant and Settling
20   Defendant’s officers, agents, and employees, and all other persons in active concert
21   or participation with him, who receive actual notice of this Order, whether acting
22   directly or indirectly, in connection with the sale of any good or service are hereby
23   permanently restrained and enjoined from:
24         A.       Engaging in any recurring debiting of a consumer’s account without
25   first obtaining a valid written pre-authorization for Preauthorized Electronic Fund
26   Transfers from the consumer’s account, which pre-authorization is clear and
27   readily understandable, identifiable as a pre-authorization, and reflects the
28   consumer’s assent, as required by Section 907(a) of the Electronic Fund Transfer

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 1   Act, 15 U.S.C. § 1693e(a), and Section 1005.10(b) of Regulation E, as more fully
 2   set out in Section 1005.10(b) of the Consumer Financial Protection Bureau’s
 3   Official Staff Commentary to Regulation E (“Official Staff Commentary to
 4   Regulation E”), 12 C.F.R. § 1005.10(b), cmts. 5 and 6, Supp. I;
 5         B.     Engaging in any recurring debiting of a consumer’s account without
 6   first providing a copy of a valid written pre-authorization to the consumer for
 7   Preauthorized Electronic Fund Transfers from the consumer’s account, which copy
 8   is clear and readily understandable, identifiable as a pre-authorization, and reflects
 9   the consumer’s assent, as required by Section 907(a) of EFTA, 15 U.S.C.
10   § 1693e(a), and Section 1005.10(b) of Regulation E, as more fully set out in
11   Section 1005.10(b) of the Official Staff Commentary to Regulation E, 12 C.F.R.
12   § 1005.10(b), cmts. 5 and 6, Supp. I; and
13         C.     Failing to maintain procedures reasonably adapted to avoid an
14   unintentional failure to obtain a written authorization for Preauthorized Electronic
15   Fund Transfers, as required in Section 1005.10(b) of the Official Staff
16   Commentary to Regulation E, 12 C.F.R. § 1005.10(b), cmt. 7, Supp. I.
17                                            VII.
18                PROHIBITIONS RELATED TO MERCHANT ACCOUNTS
19         IT IS FURTHER ORDERED that Settling Defendant, Settling
20   Defendant’s officers, agents, and employees, and all other persons in active concert
21   or participation with him, who receive actual notice of this Order, whether acting
22   directly or indirectly, are permanently restrained and enjoined from:
23         A.     Failing to disclose to any bank, payment processor, credit card
24   processor, independent sales organization, third party processor, payment gateway,
25   or other financial institution any material fact relating to obtaining a Merchant
26   Account, including, but not limited to, the identity of the owner, manager, director,
27   or officer of an entity applying for or holding a Merchant Account, and whether
28   such owner, manager, director, or officer:

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 1                1.     Has been or is placed in a Merchant Account monitoring
 2   program;
 3                2.     Has had a Merchant Account terminated by a bank, payment
 4   processor, or other financial institution; or
 5                3.     Has been fined or otherwise disciplined by a bank, payment
 6   processor, or other financial institution, in connection with a Merchant Account.
 7         B.     Making, or assisting others in making, directly or by implication, any
 8   false or misleading statements or material omissions in order to obtain a Merchant
 9   Account or respond to a Chargeback.
10         C.     Engaging in tactics to avoid any fraud or risk monitoring program
11   established by any financial institution, acquiring bank, or the operators of any
12   payment system, including:
13                1.     Using shell companies or nominees (including nominee owners,
14   officers, or managers) to obtain Merchant Accounts;
15                2.     Balancing or distributing sales transaction volume or sales
16   transaction activity among multiple Merchant Accounts or merchant billing
17   descriptors; or
18                3.     Splitting a single transaction into multiple smaller transactions.
19         D.     Causing a sham sales transaction, including microtransactions
20   (sometimes referred to as Value Added Propositions or VAP) or sales transactions
21   by a Merchant to itself.
22                                            VIII.
23                PROHIBITION ON CREDIT CARD LAUNDERING
24         IT IS FURTHER ORDERED that Settling Defendant, Settling
25   Defendant’s officers, agents, and employees, and all other persons in active concert
26   or participation with him, who receive actual notice of this Order, whether acting
27   directly or indirectly, in connection with a Merchant Account are permanently
28   restrained and enjoined from Credit Card Laundering.

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 1                                              IX.
 2              MONETARY JUDGMENT AND PARTIAL SUSPENSION
 3         IT IS FURTHER ORDERED that:
 4         A.     Judgment in the amount of forty-seven million three hundred
 5   thousand dollars ($47,300,000) is entered in favor of the Commission against
 6   Settling Defendant as equitable monetary relief, which may include restitution.
 7   Upon complete payment and transfer to the Commission of all Assets listed in
 8   Subsections IX.B-C below, the remainder of the judgment is suspended, subject to
 9   Subsections IX.D-F below.
10         B.     In partial satisfaction of the monetary judgment set forth above,
11   within seven (7) days after the entry of this Order, the following transfers of Assets
12   shall be made to the Commission by electronic fund transfer in accordance with
13   instructions provided by a representative of the Commission. Settling Defendant
14   relinquishes all legal and equitable right, title, control, and interest in these Assets
15   and shall take all steps necessary to transfer possession, custody, and control of the
16   Assets to the Commission:
17                1.     Apple Federal Credit Union shall transfer to the Commission all
18   Assets held in the bank account ending in account number 7424 in the name of
19   David Barnett.
20                2.     JPMorgan Chase Bank, N.A. shall transfer to the Commission
21   all Assets held in the following bank accounts:
22                       a.     The bank account ending in account number 7207 in the
23   name of David Barnett; and
24                       b.     The bank account ending in account number 8812 in the
25   name of Absolutely, LLC.
26                3.     Wells Fargo Bank, N.A. shall transfer to the Commission all
27   Assets held in the following bank accounts:
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 1                       a.     The bank account ending in account number 8670 in the
 2   name of David Barnett;
 3                       b.     The bank account ending in account number 0281 in the
 4   name of DataFlow LLC; and
 5                       c.     The bank account ending in account number 0307 in the
 6   name of Sure Science, LLC.
 7                4.     The Vanguard Group, Inc. shall transfer to the Commission all
 8   Assets held in the accounts ending in account numbers 9257 and 9076 in the name
 9   of David Barnett.
10         C.     In partial satisfaction of the monetary judgment set forth above,
11   within seven (7) days after the entry of this Order, the following transfers of Assets
12   shall be made to the Receiver, to the extent not already transferred to the Receiver,
13   and such Assets shall be included within the Receivership Estate. Settling
14   Defendant relinquishes all legal and equitable right, title, control, and interest in
15   these Assets and shall take all steps necessary to transfer possession, custody, and
16   control of the Assets to the Receiver:
17                1.     JPMorgan Chase Bank, N.A. shall transfer to the Receiver all
18   Assets held in the name of or for the benefit of any of the Receivership Entities,
19   including the Assets held in the bank account ending in account number 6081 in
20   the name of Omni Holding Company, LLC.
21                2.     Settling Defendant shall transfer to the Receiver all of his rights
22   and interests in Cinsay Inc., as identified in his December 10, 2018 Financial
23   Statement and supplemented on March 11, 2019, including attachments.
24                3.     Settling Defendant shall transfer to the Receiver his 2018 Audi
25   SQ5, as identified in his December 10, 2018 Financial Statement and
26   supplemented on March 11, 2019, including attachments.
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 1                  4.      Settling Defendant shall transfer to the Receiver the artwork
 2   identified in Item 17 in his December 10, 2018 Financial Statement and
 3   supplemented on March 11, 2019, including attachments.
 4         D.       The Commission’s agreement to the suspension of part of the
 5   judgment is expressly premised upon the truthfulness, accuracy, and completeness
 6   of Settling Defendant’s sworn financial statements and related documents
 7   (collectively, “financial representations”) submitted to the Commission, namely:
 8                  1.      the Financial Statement of Settling Defendant David Barnett
 9   signed on December 10, 2018, and supplemented on March 11, 2019, including the
10   attachments.
11         E.       The suspension of the judgment will be lifted as to the Settling
12   Defendant if, upon motion by the Commission, the Court finds that the Settling
13   Defendant failed to disclose any material Asset, materially misstated the value of
14   any Asset, or made any other material misstatement or omission in the financial
15   representations identified above.
16         F.       If the suspension of the judgment is lifted, the judgment becomes
17   immediately due as to the Settling Defendant in the amount specified in Section
18   IX.A. above (which the parties stipulate only for purposes of this Section
19   represents the consumer injury alleged in the Complaint), less any payment
20   previously made pursuant to this Section, plus interest computed from the date of
21   entry of this Order.
22                                               X.
23                       ADDITIONAL MONETARY PROVISIONS
24         IT IS FURTHER ORDERED that:
25         A.       Settling Defendant relinquishes dominion and all legal and equitable
26   right, title, and interest in all Assets transferred pursuant to this Order and may not
27   seek the return of any Assets.
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 1         B.      The facts alleged in the Complaint will be taken as true, without
 2   further proof, in any subsequent civil litigation by or on behalf of the Commission
 3   to enforce its rights to any payment or monetary judgment pursuant to this Order,
 4   such as a nondischargeability complaint in any bankruptcy case.
 5         C.      The facts alleged in the Complaint establish all elements necessary to
 6   sustain an action by the Commission pursuant to Section 523(a)(2)(A) of the
 7   Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and this Order will have collateral
 8   estoppel effect for such purposes.
 9         D.      Settling Defendant acknowledges that his Taxpayer Identification
10   Number (Social Security Number), which Settling Defendant previously submitted
11   to the Commission, may be used for collecting and reporting on any delinquent
12   amount arising out of this Order, in accordance with 31 U.S.C. § 7701.
13         E.      All money paid to the Commission pursuant to this Order may be
14   deposited into a fund administered by the Commission or its designee to be used
15   for equitable relief, including consumer redress and any attendant expenses for the
16   administration of any redress fund. If a representative of the Commission decides
17   that direct redress to consumers is wholly or partially impracticable or money
18   remains after redress is completed, the Commission may apply any remaining
19   money for such other equitable relief (including consumer information remedies)
20   as it determines to be reasonably related to Settling Defendant’s practices alleged
21   in the Complaint. Any money not used for such equitable relief is to be deposited
22   to the U.S. Treasury as disgorgement. Settling Defendant has no right to challenge
23   any actions the Commission or its representatives may take pursuant to this
24   Subsection.
25         F.      The freeze on the Assets of the Settling Defendant pursuant to Section
26   VI of the Preliminary Injunction entered in this action on December 18, 2018 is
27   modified to permit the payments and other transfers of Assets identified in
28   Sections IX and X of this Order. Upon completion of all payment and other

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 1   obligations identified in Sections IX and X of this Order, the asset freeze is
 2   dissolved as to the Settling Defendant. A financial institution shall be entitled to
 3   rely upon a letter from the Commission stating that the freeze on the Settling
 4   Defendant’s Assets has been lifted.
 5                                            XI.
 6                             CUSTOMER INFORMATION
 7           IT IS FURTHER ORDERED that Settling Defendant and Settling
 8   Defendant’s officers, agents, and employees, and all other persons in active concert
 9   or participation with him, who receive actual notice of this Order, whether acting
10   directly or indirectly, are hereby permanently restrained and enjoined from directly
11   or indirectly:
12           A.    failing to provide sufficient customer information to enable the
13   Commission to efficiently administer consumer redress. If a representative of the
14   Commission requests in writing any information related to redress, Settling
15   Defendant must provide it, in the form prescribed by the Commission, within 14
16   days;
17           B.    disclosing, using, or benefitting from customer information, including
18   the name, address, telephone number, email address, social security number, other
19   identifying information, or any data that enables access to a customer’s account
20   (including a credit card, bank account, or other financial account), that Settling
21   Defendant obtained prior to entry of this Order in connection with the promoting or
22   offering for sale of any good or service with a Negative Option Feature; and
23           C.    failing to destroy such customer information in all forms in their
24   possession, custody, or control within 30 days after receipt of written direction to
25   do so from a representative of the Commission.
26           Provided, however, that customer information need not be disposed of, and
27   may be disclosed, to the extent requested by a government agency or required by
28   law, regulation, or court order.

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 1                                            XII.
 2                                    COOPERATION
 3         IT IS FURTHER ORDERED that Settling Defendant must fully cooperate
 4   with representatives of the Commission in this case and in any investigation related
 5   to or associated with the transactions or the occurrences that are the subject of the
 6   Complaint. Such Settling Defendant must provide truthful and complete
 7   information, evidence, and testimony. Settling Defendant must appear for
 8   interviews, discovery, hearings, trials, and any other proceedings that a
 9   Commission representative may reasonably request upon 5 days written notice, or
10   other reasonable notice, at such places and times as a Commission representative
11   may designate, without the service of a subpoena.
12                                            XIII.
13                        TERMINATION OF RECEIVERSHIP
14         IT IS FURTHER ORDERED that the Receivership imposed by this Court
15   shall continue in the manner set forth in the preliminary injunctions entered in this
16   matter as to Defendants [Dkt. Nos. 40 and 41] except as modified by this Section.
17         A.     The Receiver shall take all necessary steps to wind down the affairs of
18   the Receivership Entities. Within fourteen (14) days of entry of this Order, the
19   Receiver shall transfer five hundred thousand dollars ($500,000) of the
20   Receivership Entities’ assets currently maintained in the Receiver’s account to the
21   Commission.
22         B.     The Receiver shall promptly take all steps necessary to liquidate the
23   assets of the Receivership Entities and, after such liquidation, shall remit the net
24   proceeds to the Commission or its designated representative as payment toward the
25   monetary judgments entered against Defendants within twenty-one (21) days of
26   each such sale or liquidation.
27         C.     The Receiver and his representatives shall continue to be entitled to
28   reasonable compensation for the performance of their duties pursuant to this Order

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 1   from the assets of the Receivership Entities. The Receiver and his representatives
 2   shall not increase their hourly rates without prior approval of the Court.
 3         D.     The Receiver shall file his final report describing his activities with
 4   respect to the Receivership Entities and final application for compensation and
 5   expenses within six (6) months after entry of this Order, unless this time is
 6   extended by the Court for good cause. Upon approval of the Receiver’s final
 7   report and application for compensation, the Receivership shall be terminated and
 8   all funds after payment of the Receiver’s final approved payment shall be remitted
 9   immediately to the Commission or its designated representative in partial
10   satisfaction of the monetary judgments entered against Defendants.
11                                           XIV.
12                          ORDER ACKNOWLEDGMENTS
13         IT IS FURTHER ORDERED that Settling Defendant obtain
14   acknowledgments of receipt of this Order:
15         A.     Settling Defendant, within 7 days of entry of this Order, must submit
16   to the Commission an acknowledgment of receipt of this Order sworn under
17   penalty of perjury.
18         B.     For 5 years after entry of this Order, Settling Defendant for any
19   business that he is the majority owner or controls directly or indirectly must deliver
20   a copy of this Order to: (1) all principals, officers, directors, and LLC managers
21   and members; (2) all employees having managerial responsibilities for conduct
22   related to the subject matter of the Order and all agents and representatives who
23   participate in conduct related to the subject matter of the Order; and (3) any
24   business entity resulting from any change in structure as set forth in the Section
25   titled Compliance Reporting. Delivery must occur within 7 days of entry of this
26   Order for current personnel. For all others, delivery must occur before they
27   assume their responsibilities.
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 1         C.     From each individual or entity to which Settling Defendant delivered
 2   a copy of this Order, Settling Defendant must obtain, within 30 days, a signed and
 3   dated acknowledgment of receipt of this Order.
 4                                             XV.
 5                              COMPLIANCE REPORTING
 6         IT IS FURTHER ORDERED that Settling Defendant makes timely
 7   submissions to the Commission:
 8         A.     One year after entry of this Order, Settling Defendant must submit a
 9   compliance report, sworn under penalty of perjury:
10                1.     Settling Defendant must: (a) identify the primary physical,
11   postal, and email address and telephone number, as designated points of contact,
12   which representatives of the Commission may use to communicate with Settling
13   Defendant; (b) identify all of that Settling Defendant’s businesses by all of their
14   names, telephone numbers, and physical, postal, email, and Internet addresses; (c)
15   describe the activities of each business, including the goods and services offered,
16   the means of advertising, marketing, and sales, and the involvement of any other
17   Defendant (which Settling Defendant must describe if he knows or should know
18   due to his own involvement); (d) describe in detail whether and how Settling
19   Defendant is in compliance with each Section of this Order; and (e) provide a copy
20   of each Order Acknowledgment obtained pursuant to this Order, unless previously
21   submitted to the Commission.
22                2.     Additionally, Settling Defendant must: (a) identify all
23   telephone numbers and all physical, postal, email and Internet addresses, including
24   all residences; (b) identify all business activities, including any business for which
25   he performs services whether as an employee or otherwise and any entity in which
26   he has any ownership interest; and (c) describe in detail his involvement in each
27   such business, including title, role, responsibilities, participation, authority, control,
28   and any ownership.

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 1         B.     For 15 years after entry of this Order, Settling Defendant must submit
 2   a compliance notice, sworn under penalty of perjury, within 14 days of any change
 3   in the following:
 4                1.       Settling Defendant must report any change in: (a) any
 5   designated point of contact; or (b) the structure of any entity that Settling
 6   Defendant has any ownership interest in or controls directly or indirectly that may
 7   affect compliance obligations arising under this Order, including: creation,
 8   merger, sale, or dissolution of the entity or any subsidiary, parent, or affiliate that
 9   engages in any acts or practices subject to this Order.
10                2.       Additionally, Settling Defendant must report any change in: (a)
11   name, including aliases or fictitious name, or residence address, or (b) title or role
12   in any business activity, including any business for which he performs services
13   whether as an employee or otherwise and any entity in which he has any ownership
14   interest, and identify the name, physical address, and any Internet address of the
15   business or entity.
16         C.     Settling Defendant must submit to the Commission notice of the filing
17   of any bankruptcy petition, insolvency proceeding, or similar proceeding by or
18   against him within 14 days of its filing.
19         D.     Any submission to the Commission required by this Order to be
20   sworn under penalty of perjury must be true and accurate and comply with 28
21   U.S.C. § 1746, such as by concluding: “I declare under penalty of perjury under
22   the laws of the United States of America that the foregoing is true and correct.
23   Executed on: _____” and supplying the date, signatory’s full name, title (if
24   applicable), and signature.
25         E.     Unless otherwise directed by a Commission representative in writing,
26   all submissions to the Commission pursuant to this Order must be emailed to
27   DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to:
28   Associate Director for Enforcement, Bureau of Consumer Protection, Federal

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 1   Trade Commission, 600 Pennsylvania Avenue, NW, Washington, DC 20580. The
 2   subject line must begin: FTC v. Apex Capital Group, LLC, et al.
 3                                            XVI.
 4                                    RECORDKEEPING
 5           IT IS FURTHER ORDERED that Settling Defendant must create certain
 6   records for 15 years after entry of the Order, and retain each such record for 5
 7   years. Specifically, Settling Defendant for any business that he is a majority owner
 8   or controls directly or indirectly, must create and retain the following records:
 9           A.     accounting records showing the revenues from all goods or services
10   sold;
11           B.     personnel records showing, for each person providing services,
12   whether as an employee or otherwise, that person’s: name; addresses; telephone
13   numbers; job title or position; dates of service; and (if applicable) the reason for
14   termination;
15           C.     records of all consumer complaints and refund requests, whether
16   received directly or indirectly, such as through a third party, and any response;
17           D.     all records necessary to demonstrate full compliance with each
18   provision of this Order, including all submissions to the Commission; and
19           E.     a copy of each unique advertisement or other marketing material.
20                                            XVII.
21                             COMPLIANCE MONITORING
22           IT IS FURTHER ORDERED that, for the purpose of monitoring Settling
23   Defendant’s compliance with this Order, including the financial representations
24   upon which part of the judgment was suspended and any failure to transfer any
25   Assets as required by this Order:
26           A.     Within 14 days of receipt of a written request from a representative of
27   the Commission, Settling Defendant must: submit additional compliance reports
28   or other requested information, which must be sworn under penalty of perjury;

                                                31
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 1   appear for depositions; and produce documents for inspection and copying. The
 2   Commission is also authorized to obtain discovery, without further leave of court,
 3   using any of the procedures prescribed by Federal Rules of Civil Procedure 29, 30
 4   (including telephonic depositions), 31, 33, 34, 36, 45, and 69.
 5         B.     For matters concerning this Order, the Commission is authorized to
 6   communicate directly with Settling Defendant. Settling Defendant must permit
 7   representatives of the Commission to interview any employee or other person
 8   affiliated with Settling Defendant who has agreed to such an interview. The
 9   person interviewed may have counsel present.
10         C.     The Commission may use all other lawful means, including posing,
11   through its representatives as consumers, suppliers, or other individuals or entities,
12   to Settling Defendant or any individual or entity affiliated with Settling Defendant,
13   without the necessity of identification or prior notice. Nothing in this Order limits
14   the Commission’s lawful use of compulsory process, pursuant to Sections 9 and 20
15   of the FTC Act, 15 U.S.C. §§ 49, 57b-1.
16         D.     Upon written request from a representative of the Commission, any
17   consumer reporting agency must furnish consumer reports concerning Settling
18   Defendant, pursuant to Section 604(1) of the Fair Credit Reporting Act, 15 U.S.C.
19   § 1681b(a)(1).
20                                          XVIII.
21                          RETENTION OF JURISDICTION
22         IT IS FURTHER ORDERED that this Court retains jurisdiction of this
23   matter for purposes of construction, modification, and enforcement of this Order.
24
25   SO ORDERED this 11th day of September, 2019.
26
27                                          _______________________________
                                                  JOHN F. WALTER
28                                           UNITED STATES DISTRICT JUDGE
                                               32
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 1
      For Plaintiff Federal Trade
 2    Commission:
 3
      Dated: 9/6/19                               /s/
 4
                                               BRIAN N. LASKY
 5                                             LAURA A. ZUCKERWISE
                                               DARREN LUBETZKY
 6
                                               Federal Trade Commission
 7                                             One Bowling Green, Suite 318
 8                                             New York, NY 10004
                                               (212) 607-2814 (Lasky)
 9                                             (212) 607-2822 (Fax)
10                                             blasky@ftc.gov
11
                                               FAYE CHEN BARNOUW
12                                             Federal Trade Commission
                                               10990 Wilshire Blvd., Suite 400
13
                                               Los Angeles, CA 90024
14                                             (310) 824-4300
15                                             (310) 824-4380 (Fax)

16
17    For Defendant David Barnett
18
      Dated: 8/4/19                            _______/s/________________
19                                             CRAIG DUFORD
                                               DuFord Law
20
                                               3611 Fifth Avenue
21                                             San Diego, CA 92103
22                                             (619) 546-4291
                                               Craig@DufordLaw.com
23
      Defendant David Barnett
24
      Dated: 8/15/19                           ____/s/__________________
25
                                               DAVID BARNETT
26
27
28

                                          33
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                                         EXHIBIT 1
 1
                             Wyoming Related Companies
 2
 3         Company
 4         Alpha Group LLC
           Apres Vous Media, LLC
 5         Based Capital LLC
           Bold Media LLC
 6
           Capstone Capital, LLC
 7         Cascade Canyon LLC
           Confidential Holdings, LLC
 8         Cornice Group LLC
 9         Crest Capital, LLC
           Fortune Ventures LLC
10         Future Holdings LLC
           Grand Assets, LLC
11
           Horizon Media, LLC
12         Interzoom, LLC
           Lead Blast LLC
13         Lion Capital LLC
14         Macro Group LLC
           Mountain Range Ventures LLC
15         Mountain Solutions, LLC
           Nutra First LLC
16
           Nutra Global LLC
17         Old West Equity LLC
           Omega Assets LLC
18         Rendezvous IT, LLC
19         Shadow Peak, LLC
           Singletrack Solutions LLC
20         Sky Media Group, LLC
           Teton Pass LLC
21         Virtual Media LLC
22         Wonder Leads LLC
           Wyoming Freedom Group LLC
23         Zoom Media LLC
24
25
26
27
28

                                           Ex-1
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 1
                                            EXHIBIT 2
 2                                 UK Related Companies
 3
 4         Company
           Ace Media Group Ltd
 5         Alpha Corporate Ventures Ltd
           Apres Vous Media Ltd
 6
           Based Capital Ltd
 7         Capstone Capital Solutions Ltd
           Clik Trix Ltd
 8         Crest Capital Ventures Ltd
 9         Digital X Solutions Ltd
           Exclusive Media Group Ltd
10         Empire Partners Ltd
           Energy Tomorrow Ltd
11
           Fortune Ventures Ltd
12         Future Hold Ventures Ltd
           Future Precision Ltd
13         G Force Max Ltd
14         Grand Assets Ventures Ltd
           Horizon Media Partners Ltd
15         Interzoom Capital Ltd
           Lead Blast Ltd
16         Lion Capital Solutions Ltd
17         Maverick Pro Ltd
           Mountain Venture Solutions Ltd
18         New Idea Group Ltd
19         Nutra First Ltd
           Nutra Global Ltd
20         Omega Assets Ltd
           Online Product Group Ltd
21         Precision Tactic Group Ltd
22         Rendezvous IT Ltd
           Sky Blue Media Ltd
23         Snowdrift Solutions Ltd
           Tactic Solutions Ltd
24
           Top Quality Group Ltd
25         Virtual Media Solutions Ltd
           Visitron Capital Ltd
26         Web Media Depot Ltd
27         Zoom Media Ltd

28

                                              Ex-2
